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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                                        CLERK’S DEFAULT


 CHELA ALMA,                                        CASE NO. 11-62232-CV-MARRA

        Plaintiff(s),
                                                                   FILED by           D.C.
 v.
                                                                        Dec 1, 2011

 TAKHAR COLLECTION SERVICES, LTD.                                   STEVEN M. LARIMORE
                                                                           CLERK
                                                                       U.S. DIST. CT.
                                                                        S.D. OF FLA.
       Defendant(s).
 _____________________________/


        It appearing that the defendant(s) herein, TAKHAR COLLECTION SERVICES, LTD.,

 is in default for failure to appear, answer or otherwise plead to the complaint filed herein within the

 time required by law. Default is hereby entered against defendant(s) TAKHAR COLLECTION

 SERVICES, LTD., as of course, on this date December 1, 2011.

                                                STEVEN M. LARIMORE
                                                CLERK OF COURT


                                                       S/Teresa Erwin
                                                By: _______________________________
                                                  Teresa Erwin
                                                  Deputy Clerk

 cc:    Hon. Kenneth A. Marra
        Counsel of Record
        Takhar Collection Services, LTD.
        C/o CT Corp. System, 208 S. Lasalle St., Ste. 814, Chicago, IL 60604
